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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS



IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                            MDL No. 2785
       Sales Practices and Antitrust                         Case No. 17-md-2785-DDC-TJJ
       Litigation

(This Document Applies to All Cases)


                    AMENDED STIPULATED PROTECTIVE ORDER

       The parties hereby stipulate to an amendment to the Stipulated Protective Order entered

by the Court on November 16, 2017 (ECF No. 69), by adding Section 15, as set forth below. All

other provisions remain unchanged. Upon the Court’s entry of this Order, the term “Stipulated

Protective Order,” as used below, should be construed as referring to this Amended Stipulated

Protective Order.

       The parties acknowledge that certain documents and information may be sought,

produced or exhibited by and between the parties and non-parties in this proceeding (the

“Proceeding”) and that some of these documents may relate to sensitive information which the

party or non-party making the production deems confidential in accordance with the rules and

standards of the Court.

       The parties assert in support of their request that protection of the identified categories of

confidential information is necessary because it is anticipated that sensitive documents and

information relating to patents, trade secrets, confidential settlements and negotiations thereof,

other confidential, proprietary, or commercially or competitively sensitive information, and



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individual protected health information, will be the subject of discovery in this case, and that a

protective order is necessary to prevent harm to persons or businesses.

       Therefore, it has been agreed by the parties to the Proceeding, through their respective

counsel, that to expedite the flow of discovery material and to preserve the confidentiality of

certain documents and information, a protective order should be entered by the Court. The Court

has reviewed the terms and conditions of this Stipulated Protective Order. Based on the parties’

submissions, for good cause shown under Fed. R. Civ. P. 26(c), it is hereby ORDERED that:

1.     Scope

       This Order shall govern all documents and electronically stored information (“ESI”), the

information contained therein, and all other information produced or disclosed during the

Proceeding whether revealed in a document, deposition, other testimony, discovery response or

otherwise, by any party, including any non-party, in this Proceeding (the “Designating Party”) to

any other party, including any non-party, (the “Receiving Party”), when same is designated with

the procedures set forth herein. This Order is binding upon the parties to the Proceeding,

including their respective corporate parents, subsidiaries, and affiliates, as well as their

respective attorneys, agents, representatives, officers, and employees and others as set forth in

this Order. This Order is also binding on and applies to all non-parties who either produce or

receive documents or information in connection with this Proceeding.

       1.1     “Designating Party” shall mean a party or non-party that designates information

or items that it produces in disclosures or in responses to discovery as Confidential Information.

       1.2     “Confidential Information” shall mean and include any document (whether in

hard copy or electronically stored information), deposition testimony, interrogatory answers,

responses to requests for admissions and/or production, or other information provided by or on

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behalf of a Designating Party (or any of their attorneys or other agents) (“Discovery Materials”),

which is believed in good faith by the Designating Party, and/or the Designating Party’s counsel,

to contain any of the following:

               a)      non-public material which contains or discloses information relating to,

referencing, or pertaining to confidential, proprietary, or commercially or competitively sensitive

information;

               b)      personal financial information, personal identifying information of the

type described in Fed. R. Civ. P. 5.2, or other personally or competitively sensitive information,

or information received in confidence from third parties;

               c)      material that is confidential pursuant to applicable law, including trade

secrets, and any other materials that the Designating Party believes in good faith to be entitled to

protection under Fed. R. Civ. P. 26(c)(1)(G); or

               d)      material that identifies an individual in any manner and relates to the past,

present, or future care, services, or supplies regarding the physical or mental health or condition

of such individual, the provision of health care to such individual, or the payment for the

provision of health care to such individual, and shall also include without limitation “protected

health information” as such term is defined by the Standards for Privacy of Individually

Identifiable Health Information, 45 C.F.R. parts 160 and 164, promulgated pursuant to the Health

Insurance Portability and Accountability Act (“HIPAA”), including prescriptions, prescription

notes, prescription records, prescription drug event reports, medical bills, claims forms, charge

sheets, medical records, medical charts, test results, notes, dictation, invoices, itemized billing

statements, remittance advice forms, explanations of benefits, checks, notices, requests,

summaries, or oral communications.

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       1.3       Nothing herein shall impose any restriction on the use or disclosure by a party of

its own documents or information.

       1.4       The parties agree that this Protective Order will constitute a Qualified Protective

Order under 45 C.F.R. 164.512(e), whereby the order (a) prohibits the parties from using or

disclosing protected health information for any purpose other than the litigation or proceeding

for which such information was requested and (b) requires the return to the covered entity or

destruction of protected health information (including all copies made) at the end of the litigation

or proceeding.

2.     Designation of Confidentiality

       2.1       General. Any Confidential Information provided by any Designating Party may

be designated as “Confidential” under the terms of this Protective Order.

       2.2       Highly Confidential.      A Designating Party may designate as “Highly

Confidential” any Confidential Information that it reasonably and in good faith believes is of

such a sensitive nature that disclosure to persons other than those listed in paragraph 4.2 could

reasonably be expected to result in injury, including, but not limited to, (a) information related to

pricing (including but not limited to credits, discounts, returns, allowances, rebates and charge

backs), projected future sales, volumes, profits, revenue, costs, (b) claims and reimbursement

data, (c) agreements with third parties, (d) transactional data, (e) information protected by

foreign, federal or state privacy laws, (f) other materials that contain particularly sensitive trade

secrets, or (g) information related to settlement of patent litigation or negotiations thereof.

       2.3       Manner of Designation. The designation of Confidential Information (other than

deposition transcripts, which are addressed separately herein) shall be made by the Designating

Party in the following manner:

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               a)      Documents produced by a Designating Party shall, if appropriate, be

designated as “Confidential” or “Highly Confidential” by marking the first page of the document

and each subsequent page thereof containing Confidential Information with the legend:

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

               b)      In the case of interrogatory answers and responses to requests for

admissions, if appropriate, designation of Confidential or Highly Confidential information shall

be made by means of a statement in the answers or responses specifying that the answers or

responses or specific parts thereof are designated “Confidential” or “Highly Confidential.” The

following legend shall be placed on each page of interrogatory answers or responses to requests

for   admission     containing   Confidential   Information:    “CONTAINS        CONFIDENTIAL

INFORMATION” or “CONTAINS HIGHLY CONFIDENTIAL INFORMATION.”

               c)      In the case of depositions and the information contained in depositions

(including exhibits), designation of the portions of the transcript (including exhibits) which

contain Confidential Information shall be made by a statement to such effect on the record in the

course of the deposition by counsel for the party or witness producing such information, or by

letter from such counsel within twenty-one (21) days of receipt of the deposition transcript or

copy thereof. The entire deposition transcript (including exhibits) shall be treated as Highly

Confidential under this Order for twenty-one (21) days following receipt of the final transcript.

After the expiration of twenty-one (21) days following receipt of the final transcript, only the

portion by page and line designated by a party or non-party as Confidential or Highly

Confidential in a letter or email served on all counsel of record within twenty-one (21) days

following receipt of the final transcript shall be maintained as designated, with the letter or email

kept with the transcript, and the following legend shall be conspicuously placed on the front and

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back of any original deposition transcript, and on each copy thereof, which contains Confidential

Information: “CONTAINS CONFIDENTIAL INFORMATION” or “CONTAINS HIGHLY

CONFIDENTIAL INFORMATION.” If portions of a video-recorded deposition are designated

as “Confidential” or “Highly Confidential,” the CD-ROM, DVD, or other videotape container

shall be labeled with the same legend provided for in paragraph 2.3(a).

                d)    To the extent that matter stored or recorded in the form of electronic or

magnetic media (including information, files, databases, or programs stored on any digital or

analog machine-readable device, computers, discs, networks or tapes) (“Computerized

Material”) is produced by any party in such form, the Designating Party may designate such

matter as “Confidential” or “Highly Confidential” by cover letter referring generally to such

matter or by affixing to such media a label with the legend provided for in paragraph 2.3(a)

above. Whenever any party to whom Computerized Material designated as “Confidential” or

“Highly Confidential” is produced reduces such material to hard-copy form, such party shall

mark such hard-copy form with the legend provided for in paragraph 2.3(a) above.

                e)    To the extent that any party or counsel for any party creates, develops or

otherwise establishes on any digital or analog machine-readable device, recording media,

computer, disc, network, tape, file, database or program information designated “Confidential”

and/or “Highly Confidential,” that party and/or its counsel must take all necessary steps to ensure

that access to such media is properly restricted to those persons who, by the terms of this Order,

may have access to Confidential Information and/or Highly Confidential Information, and will

affix to any media containing such information a label with the legend provided for in paragraph

2.3(a) above.

       2.4      Timing of Designation. Any such Confidential Information designation shall be

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made in good faith by the Designating Party and made at the time of disclosure, production, or

tender.

          2.5    Filing of Confidential Information. If either party desires to file anything with the

Court that previously has been designated as Confidential Information, that party must move to

file the Confidential Information under seal, unless the Designating Party provides written

consent in advance that filing the Confidential Information under seal is unnecessary. Any such

motion to file under seal shall be made in accordance with Local Rule 5.4.6. If the motion is

granted, and to the extent not inconsistent with Local Rule 5.4.6, such documents and materials

shall be appropriately labeled and shall also bear the legend “FILED UNDER SEAL” on the

cover page of the document. Only those portions of such documents and materials containing or

reflecting Confidential Information shall be considered Confidential or Highly Confidential for

the purposes of this Order. Regardless of any provision in this Order to the contrary, a party is

not required to file a document under seal if the Confidential Information contained or reflected

in the document was so designated solely by that party.

3.        Use of Confidential Information

          Any discovery material, including Confidential Information, or the substance or content

thereof, including any notes, memoranda or other similar documents relating thereto, shall be

used solely for the purpose of conducting this Proceeding, In re: EpiPen (Epinephrine Injection,

USP) Marketing, Sales Practices & Antitrust Litigation, MDL No. 2785, Case No. 17-md-2785-

DDC-TJJ (D. Kan.), any appeals therefrom, and any cases remanded to their original transferor

court from this Proceeding. In no event shall such information be used for any business,

competitive, personal, private, public purpose, or for any purpose or proceeding other than as

stated in this Paragraph.

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4.      Disclosure of Confidential Information

        4.1     Disclosure of Confidential Information Designated “Confidential.” Confidential

Information designated as “Confidential,” or copies or extracts therefrom and compilations and

summaries thereof, may be disclosed, summarized, described, characterized, or otherwise

communicated or made available in whole or in part only to the following persons:

                a)        the parties, including outside and in-house counsel for the parties, as well

as members and employees of their companies and firms who are employed by and engaged in

assisting such counsel in this Proceeding, including but not limited to their paralegals and

investigative, secretarial, and clerical personnel;

                b)        this Court or any other Court exercising jurisdiction with respect to this

litigation, Court personnel, jurors, and qualified persons (including necessary clerical personnel)

recording, taking or transcribing testimony or argument at any deposition, hearing, trial or appeal

in this litigation; and

                c)        a fact witness, at the witness’s deposition in this Proceeding, but only if

counsel who discloses Confidential information to the witness determines, in good faith, that

such disclosure is reasonably necessary and appropriate to assist in the conduct of this

Proceeding, and subject to the terms set forth in this Order regarding the use of Confidential

Information in depositions;

                d)        outside experts or consultants (or any employee of such outside expert or

consultant) retained, or sought to be retained, by counsel for a party in this Proceeding, for

purposes of consulting, and/or testifying in this Proceeding, who are retained or employed as a

bona fide outside independent consultant or expert, and to whom counsel in good faith has

deemed disclosure of such Confidential Information is reasonably necessary in order to assist in

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the preparation or the conduct of this Proceeding. This paragraph shall not relieve, change or

otherwise affect any obligations or limitations imposed on any person by contract or law

regarding the disclosure or use of trade secrets or other confidential or proprietary information;

                e)      outside photocopying, data processing, or graphic production services

employed by the parties or their counsel to assist in this Proceeding;

                f)      non-technical jury or trial consulting services retained by counsel for a

party; and

                g)      any other person only upon order of the Court or upon written consent of

the party producing the Confidential Information.

        4.2     Disclosure of Confidential Information Designated “Highly Confidential.” The

attorneys of record are responsible for employing reasonable measures, consistent with this

Order, to control access to, and distribution of information designated “Highly Confidential”

pursuant to this Order. Information designated as “Highly Confidential” or copies or extracts

therefrom and compilations and summaries thereof, may be disclosed, summarized, described,

characterized, or otherwise communicated or made available in whole or in part only to

following persons:

                a)      the parties’ outside counsel of record in this action and regular and

temporary employees of such counsel to whom it is necessary that the information be shown for

the purposes of this litigation;

                b)      from Sanofi-Aventis U.S. LLC (“Sanofi”) and from the Mylan and Pfizer

Defendants, two designated in-house counsel who are assisting in the prosecution or defense of

this Proceeding, whose job responsibilities are focused on litigation management, who are not

involved in competitive decision-making or patent licensing, and who do not manage, direct, or

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have day to day responsibility for patent prosecution or litigation, including settlement of

litigation, involving claims of patent infringement (which, for purposes of clarity, does not

include litigation, including, but not limited to, antitrust, Administrative Procedure Act, or

breach of contract litigation, in which the only patent issues are incidental to or predicates of a

non-patent claim or defense), subject to the following:

                  i.   material designated as “Highly Confidential” shall not be disclosed to

                       designated in-house counsel unless and until such person has executed a

                       declaration in the form attached hereto as Exhibit C; and

                 ii.   the Parties shall take all necessary steps required to segregate any files or

                       materials thereof containing Highly Confidential information in a manner

                       that protects the information from disclosure, whether intentional or

                       inadvertent, to any individual and/or entity not designated in this Order as

                       having access to Highly Confidential Information, including but not

                       limited to all other employees and in-house counsel of Sanofi, Mylan, and

                       Pfizer.

                iii.   Pursuant to the foregoing terms, the parties agree to name the following

                       individuals as designated in-house counsel:

                          a. Sanofi: Christopher Liwski, Susan Manardo

                          b. Mylan: Doug Miner, Brian Cuthbertson

                          c. Pfizer: Sheila Brodbeck, Amanda T. Perez

                iv.    In the event of any change in the role of a party’s designated in-house

                       counsel as of the date of the designated in-house counsel’s declaration that

                       would materially alter that declaration, the affected party shall (a) suspend

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                       all access to Highly Confidential information by such in-house counsel,

                       and (b) within five business days, notify all other parties of the changed

                       circumstances, and either cause the designated in-house counsel to execute

                       a new declaration or propose substitute in-house counsel consistent with

                       the terms of this Order. For the purposes of this Order, a change in the in-

                       house counsel’s role shall be deemed to be material if it alters paragraphs

                       5 or 6 of the in-house counsel’s declaration. The parties shall engage in

                       good faith discussions to resolve any situation set forth in this Paragraph,

                       but may present any disagreements to the Court for resolution.

               c)      the Court, Court personnel, and stenographic and video reporters engaged

in proceedings or otherwise employed incident to this Proceeding;

               d)      outside experts or consultants, if considered necessary in good faith;

               e)      a person who, subject to Paragraph 4.4 below, (i) appears on the face of

the document, or is shown through testimony or other evidentiary proof by the party wishing to

make the disclosure, to have prepared, received, or reviewed the information, (ii) is permitted to

see the information by the Designating Party upon request by the Party wishing to make the

disclosure, (iii) is an employee of the Designating Party, or (iv) has been designated as a Rule

30(b)(6) witness by the Designating Party.

               f)      outside photocopying, data processing, or graphic production services

employed by the parties or their counsel to assist in this Proceeding; and

               g)      any other person only upon order of the Court or upon written consent of

the party producing the Confidential Information.

       4.3     Storage of Confidential Information. Any person in possession of Confidential

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Information shall exercise reasonably appropriate care with regard to the storage, custody, or use

of such Confidential Information in order to ensure that the confidential nature of the same is

maintained.

        4.4    Use of Confidential Information in Depositions. When Confidential Information

is discussed, quoted, or referred to in any deposition, the disclosing party shall ensure that only

persons permitted by this Protective Order to have access to such Confidential Information are

present. Further, absent the agreement of the parties, prior to the disclosure of any Confidential

Information, the deponent shall be provided a copy of the form attached hereto as Exhibit B and

shall be asked to affirmatively state on the record that he or she has received the form and

consents to the restrictions contained within the Stipulated Protective Order, a copy of which

shall be provided to the deponent upon request.

5.     Notification of Protective Order

       Material designated as “Confidential” or “Highly Confidential” shall not be disclosed to a

person described in paragraphs 4.1(d), 4.1(e), 4.1(f), 4.1(g), or 4.2(c), 4.2(f), or 4.2(g) unless and

until such person has executed a Certification in substantially the form attached hereto as Exhibit

A. This prohibition includes either direct or indirect disclosure, including but not limited to, any

disclosure by counsel or experts. The originals of an executed Certification shall be maintained

by counsel for the party who obtained it until the final resolution of this litigation, and shall not

be subject to discovery except upon motion on notice and a showing of good cause.

6.     Use of Confidential Information at Hearing or Trial

       The use of any Confidential Information for the purpose of any hearing or trial that is

open to the public is not addressed at this time, but will be the subject of future agreement or

order as the need may arise.

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7.     Objections to Designations

       A party may, at any time, make a good faith challenge to the propriety of a

“Confidential” or “Highly Confidential” designation.        In the event a party objects to the

designation of any material under this Order, the objecting party shall consult with the

Designating Party to attempt to resolve their differences. If the parties are unable to reach an

accord as to the proper designation of the material, after giving notice to the Designating Party,

the objecting party may apply to the Court for a ruling that the material shall not be so

designated. If such a motion is made, the Designating Party has the burden of establishing that

the designation is proper, and will respond to the motion within ten days unless ordered earlier

by the Court. If no such motion is made, the material will retain its designation. Any documents

or other materials that have been designated “Confidential” or “Highly Confidential” shall be

treated as Confidential or Highly Confidential until such time as the Court rules that such

materials should not be treated as such.

8.     Preservation of Rights and Privileges

       Entering into, agreeing to, and/or producing or receiving Confidential Information or

otherwise complying with the terms of this Protective Order shall not:

               (a)    Operate as an admission by any party that any Discovery Material

designated as Confidential Information contains or reflects trade secrets or any other type of

confidential or proprietary information entitled to protection under applicable law;

               (b)    Prejudice in any way the rights of any party to object to the production of

documents it considers not subject to discovery, or operate as an admission by any party that the

restrictions and procedures set forth herein constitute adequate protection for any particular

information deemed by any party to be Confidential Information;

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               (c)       Prejudice in any way the rights of any party to object to the use,

authenticity, or admissibility into evidence of any document, testimony or the evidence subject to

this Protective Order;

               (d)       Prejudice in any way the rights of any party to seek a determination by the

Court whether any Discovery Material or Confidential Information should be subject to the terms

of this Protective Order;

               (e)       Prejudice in any way the rights of any party to petition the Court for a

further protective order relating to any purportedly Confidential Information; or

               (f)       Prevent any party from agreeing to alter or waive the provisions or

protections provided for herein with respect to any particular Discovery Material.

9.     Return or Destruction of Materials

       All provisions of this Protective Order restricting the use of Confidential Information

shall continue to be binding on the parties and all persons who have executed acknowledgement

forms pursuant to this Protective Order, after the conclusion of this Proceeding, including all

appeals, until further Order of the Court, unless the parties agree otherwise in writing. Within

sixty business days after the final resolution of this litigation, and following written (e-mail)

notice by the Designating Party, all originals and copies of Confidential Information shall be

returned to counsel for the Designating Party or shall be destroyed. As to those materials that

contain or reflect Confidential Information, but that constitute or reflect counsel’s work product,

counsel of record for the parties, or non-parties, shall be entitled to retain such work product in

their files in accordance with the provisions of this Order. Such materials may not be filed or

revealed in connection with any other proceeding or action. Counsel also shall be entitled to

retain in its files one copy of each pleading, affidavit, motion, brief, other paper filed with the

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Court, deposition transcript, and the trial record (including exhibits) even if such materials

contain Confidential Information, so long as such materials are not filed or revealed in

connection with any other proceeding or action absent a court order.

          Backup copies of Confidential Information in an electronically stored format will be

certified to have complied with the sixty day destruction deadline if the party has a data

destruction policy resulting in the eventual destruction or overwriting of the electronically stored

format.

10.       Unauthorized Disclosure of Confidential Information

          If Confidential Information is disclosed to anyone other than in a manner authorized by

this Protective Order, the party responsible for such disclosure must immediately bring all

pertinent facts relating to such disclosure to the attention of the other party, and make every

reasonable effort to retrieve such Confidential Information and to prevent further disclosure.

11.       Inadvertent or Unintentional Disclosure of Confidential Information

          An inadvertent failure to designate Confidential Information does not constitute a waiver

of the Designating Party’s right to secure protection under this Protective Order for such

material.    A Designating Party that inadvertently fails to designate Discovery Material as

“Confidential” or “Highly Confidential” or mis-designates Discovery Material as “Confidential”

or “Highly Confidential” pursuant to this Order at the time of its production shall be entitled to

make a correction to its designation within a reasonable time of the discovery of the non- or mis-

designation. Such correction and notice thereof shall be made in writing, accompanied by

substitute copies of each item of Discovery Material, appropriately designated.              Those

individuals who received the Discovery Material prior to notice of non- or mis-designation by

the Supplying Party shall within five (5) days of receipt of the substitute copies, take reasonable

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steps to either (a) sequester the document if the new designation is disputed; or (b) destroy or

return to the law firm representing the Designating Party all copies of such mis-designated

documents. The obligation to treat such material pursuant to the corrected designation shall be

prospective only, and those individuals who reviewed the mis-designated Discovery Material

prior to notice of the mis-designation by the Supplying Party shall abide by the provisions of this

Order with respect to all future use and disclosure of any information contained in the mis-

designated materials.

12.     Clawback Procedure for Inadvertent or Mistaken Disclosure of Privileged
        Information

        The following “clawback” procedure applies to the inadvertent or mistaken production or

inadvertent or mistaken disclosure of documents and/or other materials that constitute, contain,

or reflect information protected by the attorney-client privilege, the work-product doctrine, or

any other privilege or immunity (“Inadvertent Disclosure”), whether or not designated as

“Confidential” or “Highly Confidential”: such Inadvertent Disclosure shall not, and does not,

constitute a waiver, in whole or in part, of the privilege claimed as to such documents and/or

other materials, or the subject-matter thereof. In the event a Designating Party discovers that an

Inadvertent Disclosure was made, the producing party or non-party shall provide written notice

of the Inadvertent Disclosure to the recipient of the information. Such written notice shall be

provided within ten business days of the date it is discovered that an Inadvertent Disclosure was

made. Additionally, the notice shall identify the documents and/or other materials claimed to

have been produced by production numbers or other identification and shall state the privilege(s)

asserted.




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        Within five business days thereafter, the receiving party must notify the Designating

Party that: (a) it has returned or destroyed the specified information and any copies that it has

(provided, however, that if the receiving party intends to raise the privilege issue with the court,

it may retain and use one sequestered copy of the information solely for this purpose, which must

be returned or destroyed in the event that the Court upholds the claim of privilege); (b) it has

taken reasonable steps to retrieve any specified information that already has been disclosed,

including without limitation consenting to a motion to seal court files containing the information

if so requested; and (c) it will not use or disclose the information and/or other materials for any

purpose, pending further Order of the Court regarding the privileged nature of the documents

and/or other materials that are the subject of the written notice. By providing this notification,

the receiving party does not waive any right it has to challenge the assertion of privilege and to

move for an order of the court denying such privilege; provided, however, that (i) the receiving

party may not assert as a ground for such motion the fact or circumstances of the Inadvertent

Disclosure, and (ii) the receiving party must move to file the document(s) at issue under seal or

present them in camera if it chooses to present the document(s) to the court.

        The provisions of this Paragraph apply to all information or materials produced in the

litigation, whether designated Confidential or not. Further, pursuant to Rule 502(d) of the

Federal Rules of Evidence, it is hereby ordered that the inadvertent disclosure of privileged

information in connection with this Proceeding shall not constitute a waiver in this or any other

federal or state proceeding if the producing party or non-party timely invokes the clawback

procedures set forth in this Paragraph.

13.     Protected Material Subpoenaed or Ordered Produced

        13.1   If a party is served with a subpoena, court order, regulatory request, or other

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demand that compels disclosure of any information or items designated in this action as

Confidential Information (“Protected Materials Request”), that party must:

                a)     promptly notify in writing the Designating Party. Such notification shall

include a copy of the Protected Materials Request;

                b)     promptly notify in writing the party who caused the Protected Materials

Request to issue that some or all of the material requested is subject to this Protective Order.

Such notification shall include a copy of this Stipulated Protective Order; and

                c)     cooperate with respect to all reasonable procedures sought to be pursued

by the Designating Party whose Confidential Information may be affected.

        13.2.   If the Designating Party timely seeks a protective order, the party served with the

Protected Materials Request shall not produce any information designated in this action as

Confidential Information before a determination by the court or body from which the request

issued, unless the party has obtained the Designating Party’s permission. The Designating Party

shall bear the burden and expense of seeking protection of its Confidential Information, and

nothing in these provisions should be construed as authorizing or encouraging a party in this

Proceeding to disobey a lawful directive from another court.

14.     Other Provisions

        14.1.   The restrictions set forth in this Order shall not apply to documents or information

designated “Confidential” or ”Highly Confidential” that are publicly available or that are

obtained independently and under rightful means by the Receiving Party, unless they became so

due to a violation of this Order.

        14.2.   If a Designating Party believes in good faith that a receiving party has violated

any term of this Protective Order, they may file a motion with the Court requesting appropriate

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relief.

          14.3. Third parties who produce information in this Proceeding may avail themselves of

the provisions of this Protective Order, and Discovery Material produced by third parties shall be

treated by the parties in conformance with this Protective Order.

          14.4.   A party’s compliance with the terms of this Order shall not operate as an

admission that any particular document is or is not (a) confidential, (b) privileged, or (c)

admissible in evidence at trial.

          14.5.   This Order shall not prevent a party from applying to the Court for relief

therefrom, or from applying to the Court for further or additional protective orders, or from

agreeing to modifications of this Order, subject to the approval of the Court.

          14.6.   Upon the final resolution of this litigation (including conclusion of any appeal),

this Order shall remain in effect and continue to be binding, unless expressly modified,

superseded, or terminated by consent of all parties or by Order of the Court. This Court

expressly retains jurisdiction over this action for enforcement of the provisions of this Order

following the final resolution of this litigation.

15.       Application of the Protective Order to Third-Party Subpoenas

          15.1. Upon receiving notice and a copy of any subpoena to be served in this case, as

required by Fed. R. Civ. P. 45(a)(4), any party (the “Informing Party”) may, within five business

days of such notice, inform the party serving the subpoena and all other parties that documents

produced in response to that subpoena (the “Identified Subpoena”) may reasonably be expected

to contain information that qualifies as Confidential or Highly Confidential under this Stipulated

Protective Order, which shall include a general description of the documents expected to contain

information that qualifies as Confidential or Highly Confidential. (For subpoenas noticed or

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served before the parties stipulated to this amendment, any party may, within five business days

of the Court’s entry of this amendment, so inform the parties.) In that event, all parties being so

informed shall treat all documents produced in response to the Identified Subpoena (the “Third-

Party Production”) as Highly Confidential from the time they receive such documents and until

ten business days after the Informing Party receives a copy of the Third-Party Production, during

which period the Informing Party may designate any part of the Third-Party Production as

Confidential or Highly Confidential under this Stipulated Protective Order.             Any such

designation may be challenged as provided in Section 7. Upon request, the Informing Party will

provide the parties with stamped copies of the documents so designated, consistent with Section

2.3(a).

          15.2   Whether or not a party informs the serving party as provided in Section 15.1

above, any party serving a subpoena in this MDL will promptly provide the other parties with a

copy of all materials produced by the third party in response to the subpoena (including a copy of

the third-party’s written responses or objections, if any).

          15.3   Subject to the protocol in this Section and the protections in this Amended

Protective Order, and solely for the purpose of this MDL, while reserving all other rights, the

parties consent to (i) the production of documents and information by third parties regarding

EpiPen® Auto-Injector and Auvi-Q® that may otherwise be protected by or subject to 42 U.S.C.

§ 1396r-8(b)(3)(D) or any of the following state statutes that have been previously raised by third

parties: Fla. Stat. § 409.91196; 22 M.R.S. § 3174-R; Minn. Stat. § 13.37(1)(b), (2)(a); Miss.

Code § 43-13-117(A)(9)(a); TN Code §§ 71-5-142, 71-5-197; 33 V.S.A. §§ 2002(c), 2010(e);

and 1 V.S.A. § 317(c)(9), and (ii) the production of rebate agreements by third parties Aetna,

Coventry, Anthem, Humana, Blue Shield of California and MedImpact pursuant to subpoenas

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that havee been serveed. The paarties agree to
                                            t meet andd confer in good faith tto consider other

statutes or
         o other requ
                    uests for a paarty’s consen
                                              nt raised by tthird parties.

        IT
         T IS SO ORD
                   DERED thiss 31st day off January, 20018.




                                                              Teresa J. JJames
                                                              U. S. Maggistrate Judgee




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                 EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                            MDL No. 2785
       Sales Practices and Antitrust                         Case No. 17-md-2785-DDC-TJJ
       Litigation



                                    CERTIFICATION

1.     My name is __________________________________________________.

I live at ___________________________________________________________.

I am employed as (state position) _______________________________________

by (state name and address of employer) ________________________________.

2.     I have read the Stipulated Protective Order that has been entered in this case, and a

copy of it has been given to me. I understand the terms of the Order, I agree to be fully

bound by the Order, and I hereby submit to the jurisdiction of the Court for purposes of

enforcement of the Order. I understand that violation of the Order may be punishable by

contempt of court.

3.     I declare under penalty of perjury that the foregoing is true and correct.



Executed this _________ day of _______________, 201___



                                             by_____________________________
                                                   (signature).
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                 EXHIBIT B
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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                            MDL No. 2785
       Sales Practices and Antitrust                         Case No. 17-md-2785-DDC-TJJ
       Litigation



                        NOTICE TO DEPOSITION WITNESSES

       You are being shown one or more documents which have been designated as

“Confidential” pursuant to an Order of this Court. Except for providing testimony at this

deposition, you may not disclose these documents or their contents to any person other than

the attorney who represents you at this deposition. Further, neither these documents nor

their contents may be used by you for any purpose except that you may use them for your

testimony in connection with this litigation. In any event, you are prohibited from using

them for any business, competitive, personal, private, public, or other non-litigation purpose.

The improper disclosure or use of these documents or their contents may result in the

imposition of sanctions upon you by the Court. If you wish a complete copy of the Court

Order, a copy will be provided to you upon request.
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                 EXHIBIT C
    Case 2:17-md-02785-DDC-TJJ Document 135 Filed 01/31/18 Page 27 of 28




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS




IN RE: EPIPEN MARKETING, SALES                           2:17-md-2785
PRACTICES AND ANTITRUST
LITIGATION                                               MDL 2785

(This Document Relates to All Cases)



                     IN-HOUSE COUNSEL DECLARATION OF [NAME]

        I, ________________________, declare and state the following:

        1.      I am over the age of 18, have personal knowledge of the facts at issue, and am

competent to testify to the matters set forth herein.

        2.      I am ______[TITLE]____________, at ______[COMPANY]____________.

        3.      I     am       one      of      the      in-house   counsel     designated      by

______[COMPANY]____________ to access Highly Confidential information as defined by

Paragraph 2.2 of the Protective Order in this matter.

        4.      I certify that I have been provided with a copy of the Protective Order, have read

it, understand it, and will abide by all of its terms.

        5.      I certify that I am not involved in competitive decision-making at

______[COMPANY]____________, which includes but is not limited to:                    advising or

participating in pricing, product design, marketing, strategic planning, or other decisions made in

light of similar or corresponding information about a competitor. My responsibilities with

respect to advising ______[COMPANY]____________on any of the above issues is limited to

legal and regulatory compliance.
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       6.      I certify that I do not manage, direct, or have day to day responsibility for patent

prosecution or litigation, including settlement of litigation, involving claims of patent

infringement (which, for purposes of clarity, does not include litigation, including, but not

limited to, antitrust, Administrative Procedure Act, or breach of contract litigation, in which the

only patent issues are incidental to or predicates of a non-patent claim or defense), on behalf of

______[COMPANY]____________.

       7.      I certify that I will not share or provide access to any Highly Confidential

information    or   the   substance   thereof   to    any   current   or   former   employee    of

______[COMPANY]____________ involved in competitive decision-making and/or patent

prosecution or patent litigation.

       8.      I hereby submit to the jurisdiction of the Court for purposes of enforcement of the

Protective Order. I understand that violation of the Protective Order or the matters to which I

have certified herein may be punishable by contempt of court.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on

_________________ _______, 201__.



                                                     [NAME]
